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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
                                                                                                                   FILED
                                                                                                                  DEC - 9 2013
                                      UNITED STATES DISTRICT COUR
                                           SOUTHERN DISTRICT OF CALIFORNIA                                                        COURT
                                                                                                                                FCAUFORNIA
                                                                                                                                     DE.Ftfl- \
            UNITED STATES OF AMERICA
                                 v.                                   (For Offenses Committed On or After November 1, 19
                     EDGARCANO(I)
                                                                         Case Number:         12CR4826-GPC

                                                                      DAVID L. BAKER
                                                                      Defendant's Attorney
REGISTRATION NO.                 35417298
o
IZl pleaded guilty to count(s)          1-2,4 of the Superseding Infonnation.

o was found guilty on count(s)
    after a plea of not I!:uilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                       Nature of Offense                                                               Number(sl
21 USC 952,960                        Importation of cocaine.                                                            1

21 USC 952,960                        Importation of methamphetamine.                                                       2

21 USC 841(a)(l)                      Possession with intent distribute methamphetamine.                                    4


    The defendant is sentenced as provided in pages 2 through                   4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

o The defendant has been found not guilty on count(s)
IZl Count(s)    Underlying Information                          is          dismissed on the motion of the United States.

IZl Assessment: $300.00 ($100 each count).



IZl   Fine waived            IZl Forfeiture pursuant to order filed                 November 13,2013             , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                      December 6.2013




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DEFENDANT:                   EDGARCANO (1)                                                        Judgment - Page 2 of 4
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                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of:
108 months as to each count currently, with an enhancement of 12 months to run consecutive for Total 120 months.




        Sentence imposed pursuant to Title 8 USC Section 1326{b).
IZl     The court makes the following recommendations to the Bureau of Prisons:
        That the defendant be designated to an institution in the Western Region of the United States.




o       The defendant is remanded to the custody of the United States Marshal.

o       The defendant shall surrender to the United States Marshal for this district:
        o    at                                            A.M.      on
                  --------------------------------------
             as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
              on or before
             as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed this judgment as follows:

        Defendant delivered on       __________________________ to ________________________________

at
      -------------------------- , with a certified copy of this judgment.

                                                                          UNITED STATES MARSHAL



                                               By                   DEPUTY UNITED STATES MARSHAL



                                                                                                        12CR4826·GPC
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
4 years as to Count I, 5 years as to Counts 2 and 4 to run concurrently and concurrently with Count 1.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.

o The       above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
       substance abuse. (Check, ifapplicable.)
t8J    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
       The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
       resides, works, is a student, or was convicted of a qualifYing offense. (Check if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check if applicable.)
         If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
    such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
    of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                       STANDARD CONDITIONS OF SUPERVISION
    I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)  the defendantsball !Il)swer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)  the defendant shall support his or her dependents and meet other family responsibilities;
    5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
        reasons;
    6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
        any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
        unless granted permission to do so by the probation officer;
    10) the defendantshall permita probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
        observed in plain view of the probation officer;
    11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
        the court; and
    13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
        personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defimdant's compliance
        with such notification requirement.



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                                SPECIAL CONDITIONS OF SUPERVISION

     1. Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer
        at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
        evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

     2. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

     3. Report vehicles owned or operated, or in which you have an interest, to the probation officer.


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